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 7                                UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 8
 9    MARTIN VOGEL,                          )         Case No.: 2:20-cv-04990-FMO-MRW
                                             )
 10          Plaintiff,                      )         NOTICE OF SETTLEMENT AND
                                             )         REQUEST TO VACATE ALL
 11     v.                                   )         CURRENTLY SET DATES
 12   NORINA PROPERTIES, LLC, a California ))
      Limited Liability Company; and Does 1- )
      10,
 13                                          )
             Defendants.                     )
 14                                          )
                                             )
 15                                          )
                                             )
 16
 17          The plaintiff hereby notifies the court that a provisional settlement has been
 18   reached in the above-captioned case. The Parties would like to avoid any additional
 19   expense while they focus efforts on finalizing the terms of the settlement and reducing it
 20   to a writing. The plaintiff, therefore, applies to this Honorable Court to vacate all
 21   currently set dates with the expectation that the settlement will be consummated within
 22   the coming sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice
 23   as to all parties to be filed.
 24
                                         CENTER FOR DISABILITY ACCESS
 25
 26   Dated: June 15, 2021               By: /s/ Amanda Seabock
 27                                             Amanda Seabock
                                               Attorney for Plaintiff
 28

      Notice of Settlement             -1-           2:20-cv-04990-FMO-MRW
